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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                   CASE:

  DOUG LONGHINI,

               Plaintiff,

    v.

  4840 MGC LLC,

          Defendant.
  ___________________________________/

                                                COMPLAINT
          Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues 4840 MGC LLC (hereinafter

  “Defendant”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

          1.           This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202. The Court has original jurisdiction

  over Plaintiff’s claims arising under 42 U.S.C. § 12181, et seq. pursuant to 28 U.S.C. §§ 1331 and

  1343.

          2.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

          3.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, with a

  residence in Miami, Miami-Dade County, Florida, and is otherwise sui juris.

          4.           At all times material, Defendant, 4840 MGC LLC, was and is a Florida Profit
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  Corporation, with its principal place of business, agents, officers and/or offices in Brooklyn, New

  York.

          5.           At all times material, Defendant, 4840 MGC LLC, owned a commercial property

  located at 4840 NW 183rd Street, Miami Gardens, Florida (the “Property”).

          6.           Venue is properly located in the Southern District of Florida because Defendant’s

  Property that is the subject of this Action, is located in Miami-Dade County, Florida, and

  Defendant regularly conducts business within Miami-Dade County, Florida, and because a

  substantial part(s) of the events or omissions giving rise to these claims occurred in Miami-Dade

  County, Florida at the Property.

                                        FACTUAL ALLEGATIONS

          7.           Although over twenty-seven (27) years have passed since the effective date of

  Title III of the ADA, Defendant has yet to make its commercial property accessible to individuals

  with disabilities.

          8.           Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendant continues to discriminate against

  people who are disabled in ways that block them from access and use of Defendant’s Property and

  the businesses therein.

          9.           The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

          10.      Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping



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  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         11.       Defendant, owns and operates the Property which is located at 4840 NW 183rd

  Street, Miami Gardens, Florida that are the subject of this Action. The subject Property and the

  business located therein are open to the public, and located in Miami, Florida.

         12.       The individual Plaintiff frequently visits the Property (including the related

  parking lots and common areas) to include a visit on or about October 30, 2019, and encountered

  multiple violations of the ADA that directly affected his ability to use and enjoy the Property and

  businesses therein. He often visits the Property and business therein, when he is in the area

  visiting family and friends that reside nearby, and has definite plans to return to the Property within

  one (1) month of the filing of this Complaint in order to avail himself of the goods and services

  offered to the public at the Property, if it becomes accessible.

         13.       Plaintiff visited the Property and businesses located therein as a patron/customer,

  and intends to return to the commercial Property in order to avail himself of the goods and services

  offered to the public at the Property. Plaintiff resides near the Property, approximately twenty-

  five (25) miles from the Property, in the same state and county as the Property, regularly frequents

  the Defendants’ Property for its intended purposes, and intends to return to the commercial

  property within one (1) month’s time.


         14.       The Plaintiff found the Property to be rife with ADA violations. The Plaintiff

  encountered architectural barriers at the subject commercial property, and wishes to continue his

  patronage and use of the commercial property and the business therein.

         15.       The Plaintiff, DOUG LONGHINI, has encountered architectural barriers that are


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  in violation of the ADA, at the Property. The barriers to access at Defendant’s Property have each

  denied or diminished Plaintiff’s ability to visit the Property and businesses therein and likewise

  endangered his safety. The barriers to access, which are set forth below, have accordingly posed

  a risk of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others

  similarly situated.
         16.       Defendant owns and operates a place of public accommodation as defined by the

  ADA and the regulations implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendant is

  responsible for complying with the obligations of the ADA. The place of public accommodation

  (the buildings and business property that is the subject of this Action for their violations of the

  ADA) that Defendant owns and operates, is the Property referenced above.

         17.       Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Property, including, but not necessarily limited to the allegations in Paragraph 19 of this

  Complaint. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

  discrimination at the Property and businesses therein which are open to the public and in violation

  of the ADA. Plaintiff desires to visit the Property not only to avail himself of the goods and

  services available at the Property, but to also assure himself that this commercial property is in

  compliance with the ADA, so that he and others similarly situated will have full and equal

  enjoyment of the commercial property without fear of discrimination.

         18.       Defendant has discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the properties the businesses thereon, in a manner prohibited by 42

  U.S.C. § 12182 et seq.

         19.       Defendant has discriminated, and continues to discriminate, against Plaintiff in

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    violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

    January 26, 1993, if a Defendant has 10 or fewer employees and gross receipts of $500,000 or

    less). A list of the violations that Plaintiff encountered during his visit to the Defendant’s

    commercial property and businesses therein, include, but are not limited to, the following:

    Common Areas

           A. Entrance Access and Path of Travel

  i.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

ii.    The Plaintiff had difficulty on the path of travel at the facility, as ramps do not have compliant

       handrails violating Section 4.8.5 of the ADAAG and Section 405.8 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iii.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes between sections of the facility. These are violations

       of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

       303, 402 and 403, whose resolution is readily achievable.

iv.    The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

       of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.




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 v.      The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

         2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

         of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

         achievable.

vi.      The Plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

         Violation: There are curb ramps at the facility that contain excessive slopes, violating Section

         4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards, whose

         resolution is readily achievable.

vii.     There are protruding objects on the path of travel at the facility that present a hazard of

         colliding with them, violating Section 4.4.2 of ADAAG and Section 307.4 of the 2010 ADA

         Standards, whose resolution is readily achievable.

       Dunkin Donuts

            A. Public Restrooms

  i.     The Plaintiff could not exit the restroom without assistance, as the required maneuvering

         clearance was not provided due to the location of a trashcan. Violation: The restroom door

         does not provide the required latch side clearance due to a lack of maintenance violating

         Section 4.13.6 of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA

         Standards, whose resolution is readily achievable.

 ii.     The Plaintiff had difficulty using the locking mechanism on the restroom door without

         assistance, as it requires tight grasping. Violation: The restroom door has non-compliant

         hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and Sections

         309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily achievable.




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iii.     The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

         required distance from the side wall. Violation: The water closet is mounted at a non-compliant

         distance from the side wall, violating Section 4.16.2 and Figure 28 of the ADAAG and Section

         604.2 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.      The Plaintiff had difficulty using the toilet paper due to the roll not being located within a

         dispenser. Violation: Elements in the restroom are not readily accessible and usable by persons

         with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

 v.      The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

         wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

         4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

         readily achievable.

vi.      The Plaintiff could not use the mirror, as it is mounted too high. Violation: The mirrors

         provided in the restrooms are in violation of the requirements in Section 4.19.6 of the ADAAG

         and Section 603.3 of the 2010 ADA Standards, whose resolution is readily achievable.

             20.      The discriminatory violations described in Paragraph 19 are not an exclusive list

      of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of

      public accommodation in order to photograph and measure all of the discriminatory acts violating

      the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

      requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

      presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

      enjoyment of the commercial property and businesses therein; Plaintiff requests to be physically

      present at such inspection in conjunction with Rule 34 and timely notice.

             21.      The individual Plaintiff, and all other individuals similarly situated, have been



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  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendant, Defendant’s buildings, the

  businesses and facilities therein; and have otherwise been discriminated against and damaged by

  the Defendant because of the Defendant’s ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendant’s place of public

  accommodation in order to determine all of the areas of non-compliance with the Americans with

  Disabilities Act.


         22.          Defendant has discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods,         services,    facilities, privileges, advantages or accommodations to

  individuals with disabilities; and by failing to take such efforts that may be necessary to ensure

  that no individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

         23.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

  a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

  all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

  entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

  U.S.C. § 12205 and 28 CFR 36.505.


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         24.       A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and those similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff require an inspection of the

  Defendant’s place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         25.       Notice to Defendant is not required as a result of the Defendant’s failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         26.       Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the commercial property owned and operated

  by the Defendant, located in Miami, Florida, the interiors, exterior areas, and the common exterior

  areas of the property and businesses therein to make those facilities readily accessible and useable

  to The Plaintiff and all other mobility-impaired persons; or by closing the facility until such time

  as the Defendants cures their violations of the ADA.

         WHEREFORE, The Plaintiff, DOUG LONGHINI, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendant at the commencement

  of the subject lawsuit is in violation of Title III of the Americans with Disabilities Act, 42 U.S.C.

  § 12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all readily

  achievable alterations to the facilities; or to make such facilities readily accessible to and usable

  by individuals with disabilities to the extent required by the ADA; and to require Defendant to

  make reasonable modifications in policies, practices or procedures, when such modifications are

  necessary to afford all offered goods, services, facilities, privileges, advantages or

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  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: February 3, 2020

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